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AO 245C     (Rev. 09/13) Amended Judgment in a Criminal Case                                                     (NOTE: Identify Changes with Asterisks (*))
            Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                  Southern          District of           Indiana

           UNITED STATES OF AMERICA                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
     JOSE RAMOS, A/K/A “TONY,” “WHITEY”                              Case Number:             3:12CR00025-001
                                                                     USM Number:              65883-179
Date of Original Judgment: 7/29/2013                                 Eduardo Jaime
(Or Date of Last Amended Judgment)                                   Defendant’s Attorney
Reason for Amendment:
   Correction of Sentence on Remand (18 U.S.C.                            Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
   3742(f)(1) and (2))                                                   3583(e))
   Reduction of Sentence for Changed Circumstances                        Modification of Imposed Term of Imprisonment for Extraordinary
   (Fed. R. Crim. P. 35(b))                                              and Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                          Modification of Imposed Term of Imprisonment for Retroactive
   Correction of Sentence by Sentencing Court (Fed. R.
                                                                         Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
   Crim. P. 35(a))
                                                                         3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed. R.                   Direct Motion to District Court Pursuant    28 U.S.C. § 2255 or
   Crim. P. 36)                                                             18 U.S.C. § 3559(c)(7)
                                                                          Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
    pleaded guilty to count(s)       1
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
     Title & Section            Nature of Offense                                                               Offense Ended                  Count
 21 U.S.C. §§ 841 (a)(1)        Conspiracy to Possess with the Intent to Distribute and to                        8/30/2012                      1
          and 846               Distribute 1,000 Kilograms or More of Marijuana


       The defendant is sentenced as provided in pages 2 through                5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                   is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                       12/14/2015
                                                                       Date of Imposition of Judgment
      A CERTIFIED TRUE COPY
                                                                           __________________________________
      Laura A. Briggs, Clerk                                           Signature of Judge
                                                                          RICHARD L. YOUNG, CHIEF JUDGE
      U.S. District Court
      Southern District of Indiana                                     TheUnited States District Court
                                                                           Honorable
                                                                          Southern District ofRichard
                                                                                               Indiana L. Young, U.S. District Court Chief Judge
                                                                       Name and Title of Judge
      By                                                                12/22/2015
                            Deputy Clerk
                                                                       Date
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AO 245C   (Rev. 09/13) Amended Judgment in a Criminal Case
          Sheet 2 — Imprisonment                                                                       (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: JOSE RAMOS A/K/A “TONY,” “WHITEY”
CASE NUMBER: 3:12CR00025-001

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :      96 months*




     The court makes the following recommendations to the Bureau of Prisons:
     *That the defendant be designated to FCI Three Rivers in Texas.




     The defendant is remanded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:
           at                                          a.m.              p.m.      on                                   .
           as notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           before 2 p.m. on                                                 .

           as notified by the United States Marshal.
           as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                               to

at                                                           with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                            By
                                                                                           DEPUTY UNITED STATES MARSHAL
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AO 245C      (Rev. 09/13) Amended Judgment in a Criminal Case
             Sheet 3 — Supervised Release                                                                (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: JOSE RAMOS A/K/A “TONY,” “WHITEY”
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :         5 years


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

          The defendant must comply with the conditions listed below:

                                               CONDITIONS OF SUPERVISION
  1)     T he defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     The defendant shall support his or her dependents and meet other family responsibilities;
  5)     The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
         or other acceptable reasons;
  6)     The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;
  8)     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer;
  10) The defendant shall permit a probation officer to visit him at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
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          Sheet 3C — Supervised Release                                                             (NOTE: Identify Changes with Asterisks (*))

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          11)           The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by
                        a law enforcement.

          12)           The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
                        agency without the permission of the court.

          13)           As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by
                        the defendant’s criminal record or personal history or characteristics and shall permit the probation officer to
                        make such notifications and to confirm the defendant’s compliance with such notification requirement
          14)           The defendant shall provide the probation officer access to any requested financial information.

          15)           The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
                        probation officer.

          16)           The defendant shall participate in a substance abuse treatment program at the direction of the probation officer,
                        which may include no more than eight drug tests per month. The defendant shall abstain from the use of all
                        intoxicants, including alcohol, while participating in a substance abuse treatment program. The defendant is
                        responsible for paying a portion of the fees of substance abuse testing and/or treatment in accordance with his
                        ability to pay.

          17)           The defendant shall submit to the search (with the assistance of other law enforcement as necessary) of his
                        person, vehicle, office/business, residence and property, including computer systems and peripheral devices.
                        The defendant shall submit to the seizure of contraband found. The defendant shall warn other occupants the
                        premises may be subject to searches.



  Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend
  the term of supervision, and/or (3) modify the condition of supervision.

   These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


   (Signed)
                                   Defendant                                              Date


                                   U.S. Probation Officer/Designated Witness              Date
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  AO 245C     (Rev. 09/13) Amended Judgment in a Criminal Case
              Sheet 5 — Criminal Monetary Penalties                                                               (NOTE: Identify Changes with Asterisks (*))

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  DEFENDANT:   JOSE RAMOS A/K/A “TONY,” “WHITEY”
  CASE NUMBER:   3:12CR00025-001

                                            CRIMINAL MONETARY PENALTIES
       The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                           Fine                                  Restitution
  TOTALS
                    $ 100.00                                            $                                     $
       The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.
       The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

         Name of Payee                        Total Loss*                              Restitution Ordered                   Priority or Percentage




            TOTALS                   $                                             $
        Restitution amount ordered pursuant to plea agreement $
        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
            the interest requirement is waived for the                  fine and/or            restitution.
             the interest requirement for the                    fine          restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C   (Rev. 09/13) Amended Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments                                                                    (NOTE: Identify Changes with Asterisks (*))

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 DEFENDANT:            JOSE RAMOS A/K/A “TONY,” “WHITEY”
 CASE NUMBER:            3:12CR00025-001
                                                   SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                  , or
                in accordance              C          D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                   C,           D, or          G below); or
 C        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or
 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                    Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:

      Any and all property constituting or derived from any proceeds the defendant obtained directly or indirectly as a result of the
      offense of which he is convicted, and any and all property used or intended to be used in any manner or part to facilitate the
      commission of the offense of which he is convicted.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
